    Case 2:07-cv-03904-GTP-SS Document 8 Filed 11/15/07 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

GRETCHEN NOBLES,                                                    CIVIL ACTION
                              Plaintiff
versus                                                              NO. 07-3904

ASSET ACCEPTANCE LLC and                                            SECTION T
ABC INSURANCE COMPANY,                                              JUDGE PORTEOUS

                              Defendants              MAGISTRATE
                                                      JUDGE SHUSHAN
**********************************************************************

                          MOTION FOR 60-DAY DISMISSAL

         NOW INTO COURT through undersigned counsel comes plaintiff, Gretchen

Nobles, who suggests that the parties have firmly agreed to settle and compromise all

claims, and moves for an order dismissing this action, reserving to the parties the right to

move to reopen this case and proceed if the settlement is not consummated within 60

days.

Respectfully submitted,


/s/ Steve R. Conley_________________
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                                             1
    Case 2:07-cv-03904-GTP-SS Document 8 Filed 11/15/07 Page 2 of 2




                           CERTIFICATE OF SERVICE

        I hereby certify that on 11/15/07, I electronically filed the foregoing motion,
together with the memorandum in support and proposed order, with the Clerk of Court
using the CM/ECF system which will send a notice of electronic filing to the following:

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